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IN THE UNITED STATES DISTRICT COURT AUG 25 2g ee

FOR THE WESTERN DISTRICT OF VIRGINIA | &y- CORR: AN
CHARLOTTESVILLE DIVISION

 

EARL WASHINGTON, JR.,

Plaintiff,

CURTIS TODD WILMORE, in his capacity

as personal representative of the
Estate of CURTIS REESE WILMORE,

Defendant.

 

 

CIVIL ACTION No. 3:02-CV-00106

MEMORANDUM OPINION

 

JUDGE NORMAN K.. Moon

This matter is before the Court on Defendant’s Motions for Judgment as a Matter of Law

under Rule 50, filed on May 22, 2006, and for New Trial under Rule 59, filed on May 22, 2006.

For the following reasons, both of these motions shal! be denied.

The facts and procedural history of this case leading up to trial have been extensively

described in previous orders and need not be recounted here. This case was tried before a jury

from April 24 to May 4, 2006. At the close of Plaintiff's evidence, Defendant moved for a

directed verdict, and the Court denied the motion. On May 5, 2006, the jury returned a verdict for

Plaintiff Earl Washington. Wilmore now moves for judgment as a matter of law and for a new

trial.

 
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II
A

Rule 50 of the Federal Rules of Civil Procedure authorizes a court to grant a party
judgment as a matter of law where there is “no legally sufficient evidentiary basis for a
reasonable jury for find” for an opposing party on an issue. Fed. R. Civ. P. 50. In considering a
Rule 50 motion, the Court simply determines whether substantial evidence supports the jury’s
verdict. Bonner v. Dawson, 404 F.3d 290, 295 (4th Cir. 2005). The court must view the evidence
in the light most favorable to the non-moving party, Eberhardt v. Integrated Design & Constr,
Inc., 167 F.3d 861, 866-67 (4th Cir. 1999), and draw reasonable inferences in that party’s favor.
Gibson v. Old Town Trolley Tours of Washington, D.C., Inc., 160 F.3d 177, 181 (4th Cir, 1998),
The court may not retry factual findings or credibility determinations made by the jury, but
instead must assume that testimony presented by the non-moving party is credible unless “‘totally
incredible on its face.” Cline v. Wal-Mart Stores, Inc., 144 F.3d 294, 301 (4th Cir. 1998)
(citations omitted). Further, the court must disregard evidence favorable to the moving party that
it is not required to believe and should only give credence to evidence favoring the movant that is
uncontradicted and unimpeached, at least to the extent that it comes from disinterested witnesses.
Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150-51 (2000) (citations omitted).

In cases where causation is shown through circumstantial evidence, the question of
sufficiency of the evidence “goes simply to the reasonableness of drawing the necessary
inference of causation from the indirect evidence.” Lovelace v. Sherwin-Williams Co., 681 F.2d
230, 241 (4th Cir. 1982). “Sheer speculation,” however, cannot form the basis for a verdict,

Gibson, 160 F.3d at 181, and inferences must be within the range of reasonable probability,

 
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rather than simple possibility. Lovelace, 681 F.2d at 241-42; Ford Moter Co. v. McDavid, 259
F.2d 261, 266 (4th Cir. 1958) (“Permissible inferences must still be within the range of
reasonable probability, however, and it is the duty of the court to withdraw the case from the jury
when the necessary inference is so tenuous that it rests merely upon speculation and
conjecture.”), Judgment as a matter of law notwithstanding the jury verdict is appropriate only
where, without re-weighing the evidence, “there can be but one reasonable conclusion as to the
proper judgment” Benner v. Nationwide Mut. Ins. Co., 93 F.3d 1228, 1234 (4th Cir. 1996)

(citation omitted).
B

Wilmore argues that there is no substantial evidence to support the jury’s verdict that
Curtis Reese Wilmore fabricated evidence, that he did so deliberately, or that the fabrication
caused Washington’s injury. In particular, he argues that Plaintiff presented no evidence that
Wilmore’s statement in the May 24, 1983 police report (“Washington gave pertinent information
about the crime that no one knew with the exception of himself’) was false. Rather, Washington
gave a wealth of information known only to himself regarding how he arrived at and left the
crime scene, who accompanied him, and how he acquired and disposed of the murder weapon.
All of this information was known only to Washington, of course, because he had made it up. On
the other hand, many individuals inside and outside of law enforcement knew the actual details
of the murder that Washington confessed to, and thus these details cannot be the “pertinent
information” Wilmore referred to. Further, Wilmore argues that there is no evidence Bennett ever
read the police report at issue, nor that he relied on the report in prosecuting the case. Finally,
Wilmore argues that there is no evidence of an intent to fabricate; given that Wilmore was not

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required to ask non-leading questions or record interviews, the fact that he did not do so is simply

not probative.

After examining the record, the Court determines that there was sufficient evidence for a
reasonable jury to find that the statement in the May 24, 1983 police report was a fabrication.
Although Washington gave a great deal of false detail about the crime, Plaintiff presented expert
testimony by Richard Leo that, from a police standpoint, “pertinent” information is that which
the police have corroborated. This testimony is not “totally incredible on its face,” Cline, 144
F.3d at 301, and thus a reasonable jury is entitled to credit it. Plaintiff also offered substantial
evidence that Washington could not have known any actual “pertinent” information, because he
was innocent of the Williams murder. Given this evidence, a reasonable jury could find it more
probable than not that the statement that Washington gave “pertinent” information was a

fabrication.

Wilmore argues, however, that the statement that Washington presented information “no
one knew with the exception of himself’ must be read literally. Because the only information
Washington presented that was known only to himself was the information he himself had
invented, and not the details he learned from Wilmore, Plaintiff's definition of “pertinent”
contradicts the actual statement in the police report and the jury should not be allowed to believe
it. The jury, however, may use its own knowledge and common sense in interpreting testimony
and evidence. See, e.g., Head v. Hargrave, 105 U.S. 45, 49 (1881); Cronenbure v. United States,
123 F. Supp. 693, 701 (E.D.N.C. 1954) (citation omitted). If Washington presented to Wilmore
information that was “known only to himself,” Wilmore would have no way of knowing whether
or not this information was true, and although it might provide the potential for corroboration, it

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would not offer any definitive evidence of guilt at the time of the interrogation. In contrast,
“pertinent” as defined by Washington’s experts places a gloss on this statement by suggesting
that the information offered already had some meaning for the investigation. A reasonable jury
could determine that this is the kind of information that merits mention in a police report. [t was
therefore not unreasonable for the jury to find that “pertinent information no one knew with the
exception of himself’ meant essentially “information about the crime not known to the general
public.”! Washington’s interpretation of this statement is not the only possible interpretation, but
placed in its proper context it is at least one probable interpretation. The jury’s verdict was based
on more than sheer speculation or a scintilla of evidence, and the mere fact that the statement
might be susceptible to more than one interpretation does not render the jury’s verdict
unreasonable as a matter of law. See, e.g., Gairola y. Virginia Dep't of Gen, Serv’s., 753 F.2d
1281, 1285 (4th Cir. 1985) (holding that the test for a directed verdict is whether “there can be

but one conclusion as to the verdict that reasonable jurors could have reached.”).
Cc

There was also sufficient evidence for the jury to find that Wilmore knowingly and
intentionally fabricated evidence. As many courts have noted, intent must almost always be
proven by circumstantial evidence, Although Wilmore was not required to record interviews or
to formulate his questions in a particular way, the fact that he did not record the interview and

that he asked leading questions is certainly open to the jury’s consideration. Harlan Lee Hart

 

‘Indeed, it is not clear that Wilmore’s literal interpretation of the statement is any less
contradictory. The majority of the facts that Washington made up would have been known to
other people as well, had they been true: for instance, “Billy” would have known that he picked
Washington up and drove with him to Culpeper.

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testified that he was aware of no logistical reason why Wilmore could not have taped the
confession, and Plaintiff's expert Leo testified that there was no reason for Wilmore to tape some
interviews and not others. Indeed, the Inbau and Reid manual! recommends either recording all
interviews or none. Further, Washington presented evidence from which the jury could infer that
Wilmore had been trained by the Reid Corporation, which taught officers not to reveal all of the
details about a crime. This evidence thus offered sufficient grounds for the jury to infer that

Wilmore’s fabrication was deliberate.
D

Finally, Plaintiff presented sufficient evidence to show that Wilmore’s fabrication caused
Washington’s conviction. Not only could a reasonable jury infer that Bennett read or knew the
contents of Wilmore’s report, but they could also reasonably infer that that report influenced
Bennett’s prosecution of the case and the jury’s verdict. Hart testified that it was his and
Wilmore’s practice to forward their reports to the prosecutor’s office, and that the May 24 police
report was the only comprehensive report he was aware of describing the events of May 22.
Further, Bennett testified that he had many meetings with Wilmore, and Wilmore never told him
anything inconsistent with the contents of the report. Although Bennett testified that he drew his
own conclusions as to how to conduct the case, he also admitted that in drawing those
conclusions he relied on “raw data” supplied by investigators. Further, a jury could find that
Plaintiff impeached Bennett’s credibility by presenting evidence that he had previously lied about
having witnessed Washington’s confession. The jury was thus not required to credit his

statements that he had formed his own conclusions as to Washington’s knowledge.
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Further, circumstantial evidence supports the finding that Wilmore’s fabrication
influenced the conduct of the prosecution. Bennett mentioned Washington’s possession of non-
public information in his opening statement, and his rebuttal at closing was a powerful
formulation of how Washington’s independent knowledge of these pertinent facts connected him
to the crime. Although these statements were not evidence, they were nonetheless persuasive
argument, and given the large role they played in Bennett’s closing, a reasonable jury could have

found it more probable than not that they were a cause of Washington’s conviction.

Wilmore argues that so many inferences were required by the jury to conclude that the
police report influenced the conviction that they have ceased to be credible. A determination of
what constitutes a reasonable inference on which a jury may rely is a common problem in Rule
50 motions, and the definition of the range of reasonable inferences depends on the particular
circumstances of each case. 9A Charles Alan Wright & Arthur R. Miller, Federal Practice and
Procedure § 2528 (2d ed. 1987). However, the mere fact that more than one inference is required
for the jury to reach its conclusion does not render that conclusion unreasonable. See Shelton v.
Jones, 356 F.2d 426, 428 (4th Cir. 1966) (holding that on a motion for directed verdict, the court
must “indulge every reasonable inference in [the plaintiff's] favor.) (emphasis added). Similarly,
the mere fact that conflicting inferences are possible from the facts alleged does not render the
verdict unreasonable. It is the province of the jury to resolve conflicting inferences from
circumstantial evidence, so long as those inferences are within the range of reasonable
probability. Phoenix Sav. & Loan, Inc. v. Aetna Cas. & Sur. Co., 427 F.2d 862, 868 (4th Cir.
1970). Here, in light of all the evidence and allowing the jury all reasonable inferences, it is clear

that the jury could reasonably infer that Bennett had seen the police report and that Wilmore’s
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fabrication influenced his prosecution of the case and was a cause of Washington’s conviction.
There was thus sufficient evidence for a reasonable jury to find that the statement in the police
report was a fabrication, that it was deliberate, and that it was a cause of Washington’s

conviction, Wilmore’s motion for judgment as a matter of law fails.
Ill
A

Wilmore also moves for a new trial under Rule 59. Under Rule 59, a trial judge may
weigh the evidence and consider the credibility of witnesses and may order a new trial, even
where the verdict is supported by substantial evidence, if it would result in a miscarriage of
justice. Poynter v. Ratcliff, 874 F.2d 219, 223 (4th Cir. 1989). Here, Wilmore seeks a new trial
based on two grounds: the Court’s error in granting Plaintiff's Batson motion, and the Court’s

error in admitting Curtis Reese Wilmore’s preliminary hearing and trial testimony.
B

Wilmore argues that the Court erred in its ruling on the Batson question. Specifically, he
argues that a race neutral reason existed for Defendant’s strike of Juror 100260151, because she
was the only juror who responded affirmatively to Question 92 in the pretrial juror questionnaire
(“Do you believe that if you disagreed personally with the jury instructions given to you by the
judge at the end of the case, that you would tend to base your verdict on your personal views of
the case?”). In addition, she stated on her questionnaire that she believed, “People should be
compensated when wrongfully convicted,” and that if Defendant were guilty “he should serve

time,” Further, Wilmore argues that the Court conducted the wrong inquiry in examining the

 
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Plaintiff's Batson motion.

There are three steps in a Batson inquiry: first, the party opposing the peremptory
challenge must make out a prima facie case of discrimination; second, if a prima facie case is
made, the burden shifts to the challenge’s proponent to offer a race-neutral explanation for the
challenge; and third, the trial court must then determine whether the opponent of the strike has
proved purposeful discrimination. Matthews v. Evatt, 105 F.3d 907, 917 (4th Cir. 1997).
Although the race neutral reason offered at stage two need not be minimally persuasive or even
plausible, the court may consider the persuasiveness of the justification at the third stage. Purkett
v. Elem, 514 U.S. 765, 768 (1995). At that stage, implausible justifications may be found to be
pretexts for purposeful discrimination. /d. The ultimate burden of proving purposeful
discrimination, however, rests with the opponent of the peremptory strike. Matthews, 105 F.3d at
917. Once the court has ruled on the ultimate issue of purposeful discrimination, the issue of
whether the prima facie case was made becomes moot. Hernandez v. New York, 500 U.S. 352,

359; Davis v. Baltimore Gas & Elec. Co., 160 F.3d 1023, 1027 (4th Cir. 1998).

A new trial under Rule 59 is not warranted on the Batson issue because the race neutral
reasons offered by Defendant were not persuasive, and Plaintiff carried his ultimate burden of
proving purposeful discrimination. When the parties originally argued the Batson motion,
counsel handling jury selection for Defendant stated that he made the decision to strike Juror
100260151 before seeing her and learning her race. This statement and the affidavit to the same
effect later filed are dubious, given that the clerk’s office sent an official venire list to both
parties before trial listing information about each prospective juror, including his or her race.
Both parties put substantial effort into jury selection, and clearly both sides had reviewed the

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detailed questionnaire that was sent out to the pool. It is thus difficult to fathom how defense
counsel in charge of selecting the jurors would have overlooked the potentially useful
information sent by the clerk’s office. Further, as the Supreme Court noted in Batson, the court is
not required to credit a simple affirmance of good faith, Batson v. Kentucky, 476 U.S. 79, 98
(1986), and here, the circumstances of this case suggest that the defense counsel must have been

aware of the juror’s race before voir dire began.

In addition, Defendant’s other arguments offering race neutral reasons for striking the
juror are unpersuasive in light of all the facts. The juror’s statement that if Wilmore were guilty
he “should serve time” evinces little more than a confusion about criminal and civil standards, a
confusion shared by many of the prospective jurors. Nor does this statement demonstrate an
inappropriate desire for retribution, given that the juror also stated that she hoped Wilmore was

innecent and that many of her other responses indicated a high regard for law enforcement.

Similarly, other white jurors made statements similar to Juror 100260151’s statement that
“people who are wrongfully convicted should be compensated.” At least two white jurors
actually seated made statements essentially the same as the disputed juror’s statement, with no
attempt made to strike them. Although Batson is not necessarily violated when two venire
members of different races give the same responses and one is struck while the other is not,
Howard v. Moore, 131 F.3d 399, 408 (4th Cir. 1997); Matthews, 105 F.3d at 918, the court may
consider this evidence in making its third-step determination of purposeful discrimination.
Miller-El vy. Dretke, 125 S.Ct. 2317, 2325 (2005); Howard, 131 F.3d at 408 (“this circumstance

may give rise to an inference of pretext.”’).

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Even the juror’s statement in her questionnaire that she would tend to follow her personal
feelings in making her decision does not detract from the Court’s conclusion. As an initial
matter, it is clear that she renounced this assertion during voir dire. Wilmore argues, however,
that the Court informed the parties that they could rely on the statements in the questionnaire.
This is true as far as it goes, but nowhere did the Court suggest that they would be given
dispositive weight or accorded any more force than any other statements made by the jurors. In
chambers, before beginning the trial, counsel and the undersigned discussed several issues, and it
is the undersigned’s recollection that as the meeting was ending and the attorneys were about to
leave chambers, Mr. Broaddus asked something to the effect of whether the parties could rely on
the questionnaire answers in making their strikes. The undersigned replied that the questionnaires
were part of the record, as would be the voir dire. At that point the significance of this question

was not immediately clear to the undersigned.

In light of later events, however, these facts suggest that the defense knew at least by the
meeting in chambers that Juror 100260151 was black,’ had decided to strike her, and wished to
avoid any voir dire answers that would cast doubt on their proposed reasons for striking her.
Other than to avoid a Batson challenge, there is no conceivable reason for counsel to be
concerned about the use of the questionnaire answers. In other words, the defense adopted a
strategy of ignoring or limiting the importance of the statements made during voir dire so as to

preserve its pretextual reasons for striking the juror.

 

"It is the undersigned’s recollection that the meeting occurred after the jurors were seated
in the courtroom. Because they were seated alphabetically, counsel would have been readily
aware of their identities by at least that point.

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Considering the juror’s own background in law enforcement and corrections, het
family’s participation in the field, and her statement that she would give more weight to a law
enforcement officer than to a lay witness, she appeared to have been an ideal juror for Wilmore.
Indeed, it seems unlikely that Defendant would have sought to strike a white juror with these
credentials. Further, any suggestion that she would follow her own personal feelings rather than
the Court’s instructions seems more likely to evince a bias i# favor of Wilmore rather than
against him. Finally, a white juror who was seated without objection stated in his questionnaire
that he was unsure whether he would be able to follow the Court’s instructions. Although he did
not answer the question affirmatively, as did Juror 100260151, his response to this question
should still have raised a red flag for defense counsel had this issue indeed been as dispositive as
they argue. In sum, the race-neutral reasons offered by Defendant for striking Juror 100260151
are pretextual and unconvincing, and the Court found that Plaintiff carried his ultimate burden of

proving purposeful discrimination.

Defendant also argues that because the Court initially applied the wrong test in
considering the Batson issue, a new trial should be ordered. Although the Court did not properly
articulate the standard at the time of the initial Batson motion, this was due to a simple
misstatement rather than to a genuine misunderstanding of the law. The Court was well aware of
the proper standard, and it was upon that standard that it based its initial Batson decision.
Further, the Court explicitly considered the issue according to the proper Batson standard during
the course of the trial and reaffirmed that Defendant’s reasons for striking the juror were

pretextual and that Plaintiff had carried his ultimate burden of proving purposeful discrimination.

The Court also notes that the defense counsel did not object to the Court’s application of

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Batson when the initial motion was made. Numerous courts have held that objections must be
made during trial to be preserved; a party cannot “entrap a successful plaintiff by reserving its
fire” and waiting to see the outcome, especially when bringing the error to the court’s attention
would have led to its immediate correction. Reck v. Pacific-Atlantic S.S. Co., 180 F.2d 866, 870
(2d Cir. 1950); Ford v. United Gas Corp., 254 F.2d 817, 818 (Sth Cir. 1958). Further, an
objection on one ground will not allow the objecting party to rely on other grounds on appeal.
Rice v. Community Health Ass’n., 203 F.3d 283, 286 (4th Cir. 2000). Although the defense
properly preserved its substantive Batson objection, it never objected to the standard applied by
the Court, a different issue. Upon the Court’s decision to grant the Batson motion, all defense
counsel said was, “Note the exception, your honor,” a statement that appears to refer to the
outcome of the Batson motion rather than to the standard applied. Although the Court does not
rely on this ground in denying the Rule 59 motion, it does note that an argument for waiver

therefore exists.’

Defendant also argues that he is entitled to a new trial based on the Court’s erroneous
admission of Curtis Reese Wilmore’s preliminary hearing and trial testimony, in violation of

Briscoe v. LaHue, 460 U.S. 325 (1983), and the Fourth Circuit’s earlier ruling in this case,

 

*Plaintiff also argues that Defendant has waived its objection to the Batson issue because
during the Court’s reconsideration of the issue, defense counsel stated, “I’m not sure there is an
answer other than just to go forward as we are.” Defendant’s failure to agree to any proposed
solutions does not constitute an invitation of error. Counsel for Defendant voiced an objection at
the initial Batson hearing, and whatever else may have occurred, there was no invited error on
their part based on their later statement.

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Washington v. Wilmore, 407 F.3d 274, 283 (4th Cir. 2005). Both of these cases, Wilmore argues,
stand for the proposition that because Wilmore’s testimony is absolutely immune, it cannot be

used against him for any purpose and must be essentially erased from the record.

In Briscoe, the Supreme Court ruled that Section 1983 does not allow a convicted
defendant to assert a claim against a police officer for giving perjured testimony at the
defendant’s trial. The Court held that the common law absolute immunity that has historically
protected private witnesses from subsequent damages liability for their testimony also protects
testifying police officers and other witnesses from Section 1983 liability. Briscoe v. LaHue, 460
U.S. 325, 345-46 (1983). Applying Briscoe, the Fourth Circuit ruled in this case that “it is an
indisputable proposition” that Wilmore cannot be held liable for his testimony at Washington’s
criminal trial. Washington v. Wilmore, 407 F.3d 274, 283 (4th Cir. 2005). The court then stated
that the proper inquiry was “whether Washington’s conviction was a reasonably foreseeable
result of Wilmore’s initial act of fabrication” and noted the importance of determining whether
Wilmore’s false statement in the police report influenced the manner in which the prosecution

was conducted. fed.

Courts considering the applicability of Briscoe in police misconduct cases have held that
a witness cannot immunize pretrial conduct by testifying about it. See, e.g., Snyder v, City of
Alexandria, 870 F. Supp. 672, 688 (E.D. Va. 1994) (“An officer who has violated an accused’s
rights, through conduct outside the courtroom, does not absolve himself of § 1983 liability by
testifying about the charged conduct.”). Wilmore now argues that, even where a Section 1983
claim is based on a pretrial event rather than on trial testimony, that testimony must be excluded
as evidence of the event’s occurrence. He cites an Eleventh Circuit case, Rowe v. City of Fort

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Lauderdale, 279 F.3d 1271 (11th Cir. 2002), for the proposition that acts for which a prosecutor
enjoys absolute immunity cannot be considered as evidence of the prosecutor’s membership in a
conspiracy for which the prosecutor did not have immunity. In Rowe, the Eleventh Circuit held
that there would only be sufficient evidence for a jury to find the prosecutor, Lazarus, engaged in
a conspiracy to deprive the plaintiff of his rights if the jury were allowed to consider his
immunized prosecutorial actions. /d. at 1282. This would render the prosecutor’s absolute
immunity illusory because the conspiracy charge would simply become a proxy for liability
based on the immune activities. Hence, the prosecutor’s conduct at trial could not be used as

evidence of his participation in a conspiracy for which he enjoyed no immunity. Jd.

An important distinction between this case and Rowe lies in the availability of other
evidence of misconduct aside from that immunized by Briscoe. In Rowe, the only evidence that
would have allowed the jury to find the defendant liable for conspiracy was immunized and
could not have been a basis for liability itself. Here, in contrast, a great deal of other evidence
besides Wilmore’s testimony supports the fabrication of evidence claim: to take only one
example, Bennett’s statements during his opening and rebuttal summation are as probative of
causation, if not more so, than Wilmore’s testimony. Hence, unlike the situation in Rowe, the use
of immunized actions as evidence of pretrial misconduct is not simply an attempt to sidestep

Briscoe’s protections,

Further, the Eleventh Circuit’s ruling was limited by its language to conspiracy cases.
Questions of conspiracy liability present different issues than those before the Court. In
conspiracy cases, the risk that otherwise protected judicial activity will be chilled by a subsequent
conspiracy charge is significant, see id, and much greater than it is cases involving fabrication of

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evidence such as this. Indeed, a number of courts have ruled that claims of conspiracy to commit
an immunized act generally fail, because a person may not be prosecuted for conspiring to
perform an act that he may perform with impunity. See, e.g., Lewis v. Gupta, 54 F. Supp. 2d 611,
619 n.12 (E.D. Va. 1999); aecord Reasonover v. St. Louis County, Missouri, 447 F.3d 569, 580

(8th Cir. 2006).

In contrast, in fabrication of evidence cases, it is clear that the fabricator may be liable for
his pretrial actions even where he himself has offered the evidence in an immunized judicial
proceeding. See, e.g., Zahrey v. Coffee, 221 F.3d 342 (2d Cir. 2000). Although Zahrey dealt with
whether the immunized activities broke the chain of causation, the Second Circuit also noted that
the question had repercussions for the reach of absolute immunity. See id. at 354 n.10 (“Deeming
the chain of causation broken by the prosecutor’s use of the evidence he himself fabricated would
also, in practical effect, enlarge the scope of the prosecutor’s absolute immunity.”). The Second
Circuit noted that a prosecutor may be sued for a pretrial fabrication when his use of the
fabricated evidence at trial results in the loss of the accused’s liberty, despite the risk that this
may expose prosecutors to more lawsuits by acquitted defendants. /d. at 354 n.11. In other words,
the court here necessarily considered immunized conduct because it addressed the fabricator’s

use of fabricated evidence at trial and its role in causing harm.

At least one circuit has ruled explicitly that immunized testimony may be used as
evidence of a claim based on a non-immunized action. In Morley v. Walker, 175 F.3d 756, 761
(9th Cir. 1999), the Ninth Circuit stated that evidence of a prosecutor’s conduct, “even though he
may have absolute immunity for it, may come in at trial if relevant to proving . . . conduct for
which he has only qualified immunity.” Further, in an unpublished decision, the Fourth Circuit

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considered trial statements as evidence of a pretrial fabrication on a motion for summary
judgment. White v. Wright, 150 Fed. Appx. 193, 199 (Sept. 23, 2005) (“White’s strongest
evidence of deliberate fabrication . . . is probably Lt. Wright’s statements, in his report and
during his testimony at trial.”). Although White is not binding precedent, it suggests that trial

testimony may serve as evidence of a distinct pretrial fabrication.

Here, as in Zahrey and White, Wilmore’s liability is not based on his trial testimony but
rather on the pretrial fabrication of evidence. Causation is an essential element of Washington’s
claim, and proving this point necessarily involves some examination of the degree to which the
false statement at issue influenced Bennett’s prosecution of the case, a question which can be
answered circumstantially by examining what prosecution witnesses said at trial. This Court was
cautious to emphasize, however, in both the jury instructions and in its statements to the jury
during the course of the trial, that the jury could not base liability on Wilmore’s testimony, but
could only consider it to the degree that it reflected the impact of Wilmore’s pretrial fabrication

on the way the Commonwealth’s Attorney prosecuted the case.

The admission of Wilmore’s testimony for this limited purpose does not run counter to
the rationales for immunity described in Briscoe. Where, as here, the source of liability is not the
testimony itself but an earlier act of misconduct, the testimony is valuable as circumstantial
evidence of knowledge or causation, rather than for the actual statements made by the witness. In

this situation, there is far less pressure on a Witness to perjure himself or censor his testimony.

See Briscoe, 460 U.S. at 333.

Finally, despite Wilmore’s argument te the contrary, Plaintiff never suggested that

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Wilmore’s testimony was perjurious. Curtis Reese Wilmore never testified that Washington had
nonpublic information, nor did he repeat the statement made in the police report, and hence there
was no arguably perjured testimony before the jury. Wilmore also argues that Washington used
the trial testimony for a purpose not allowed by the Court’s instructions: to argue that the Q&A
itself was a fabrication. Although Washington’s arguments could be interpreted to lead to that
conclusion, the jury was properly instructed that it could not find that Wilmore had fabricated

evidence unless it found that the statement in the police report was a fabrication.

Washington argues that Defendant waived any objection to the introduction of Curtis
Reese Wilmore’s trial testimony by failing to object to the Court’s proposed jury instruction
regarding immunity. Given Wilmore’s numerous filings regarding absolute immunity, as well as
his continuing objection at trial, this argument is unpersuasive. Wilmore objected on multiple
occasions, and thus his silence with regard to the jury instruction certainly does not waive this

issue, which has been properly preserved.
Conclusion

Wilmore is not entitled neither to a new trial nor to judgment as a matter of law.
Sufficient evidence supported the jury’s verdict for Washington, and Wilmore has failed to show
that allowing the verdict to stand will result in a miscarriage of justice. Accordingly, his motions

for new trial and judgment as a matter of law shall be denied.

An appropriate order shall issue this day.

ENTERED: L222 wt ten!

U.S. District Judge

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